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 7   Leah Bories Krista Harris, Robert Hartman,
     John Hen(ey, Nathan Hughes, and Megan
 8   Penneau
 9
                               UNITED STATES DISTRICT COURT
10
                                       DISTRICT OF NEVADA
11
     ERIC D. MONTOYA,
12                                                     Case No. 3:22-cv-00558-ART-CSD
                         Plaintiff,
13                                                     JOINT REQUEST TO EXTEND TIME
     v.                                                FOR SETTLEMENT CONFERENCE
14
     K. MATTICE-HARRIS, et al.,
15
                         Defendants.
16
17
18
19          IT IS HEREBY JOINTLY REQUESTED by and between Plaintiff Eric Montoya

20   ("Montoya"), and Defendants bY and through counsel, Jessica Brown, Deputy Attorney

21   General, that the Court set a Judicial Settlement Conference. It is further requested, that the

22   Court stay all deadlines to allow the parties to settle this matter.

23          1.     On March 14, 2024, the parties requested a Judicial Settlement Conference to

24   assist in resolving this matter, and it was set for May 2, 2024.

25         2.      On Monday, April 1, 2024, Judge Miranda Du moved a trial in a different matter

26   in which Deputy Attorney General Jessica Brown is the attorney of record to April 29, 2024

27   through May 3, 2024.

28          3.     Accordingly, the parties have agreed and requested that the Court



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 1   reschedule the Settlement Conference to the earliest possible date after May 3, 2024.
 2            4.   This Request and Stipulation is made in good faith and not for the purpose of
 3   delay.
 4
 5   DATED this __J_ day of 4/1,'/       . 2024.     DATED this 4th day of April, 2024.

 6
 7   By:   ~~~                        1'/bf)f/     By:     Isl Jessica Brown
                                                           Jessica Brown, Esq.
           Eric Montoya, Plaintiff
 8                                                         Nevada Attorney General's Office
                                                           Nevada Bar No. 10736
 9
                                                           555 E. Washington Avenue
10                                                         Las Vegas, NV 89101
                                                           Attorneys for Defendants
11
12
13
14                                          IT IS SO ORDERED.
15
16
                                            UNITED STATES JUDGE
17
18                                          DATED: _ _ _ __

19
20     IT IS HEREBY ORDERED that the Settlement Conference
21     is reset to Monday, May 13, 2024, at 9:00 a.m.
22
23
       DATED: April 4, 2024.
24
25
26                                   _________________________________
27                                   UNITED STATES MAGISTRATE JUDGE
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